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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
——————————————————X
UNITED STATES OF AMERICA,

                       Plaintiff,
                                                    Case No. (S-1) 16-CR-725 (JPO)
       —Against—
                                                    AFFIRMATION OF
LEV PARNAS,                                         COUNSEL

         Defendant.
——————————————————X

       JOSEPH A. BONDY, an attorney duly licensed to practice law before this Court, hereby

declares that the following facts are true:

1.     I am an attorney for Defendant Lev Parnas;

2.     The facts necessary to resolution of Mr. Parnas’ pre-trial motions are contained in the

supporting Memorandum of Law and Exhibits.

Dated: New York, New York
       December 1, 2020

                                                    ______________
                                                    Joseph A. Bondy
